           Case 2:22-cv-03902-JMY Document 49 Filed 09/12/23 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM RIVERA,                                    :
                                                    :
           Plaintiff,                               :
                                                    :
                  v.                                :              CIVIL ACTION
                                                    :
 GEORGE LITTLE, SECRETARY OF                        :              NO. 22-03902
 DEPARTMENT OF CORRECTIONS, et al.,                 :
                                                    :
           Defendants.                              :
                                                    :

                                              ORDER

       AND NOW, this 12th day of September, 2023, upon consideration of Plaintiff’s Motion

for Certificate of Appealability (ECF No. 48), it is hereby ORDERED that said Motion is

DENIED.1


                                                        BY THE COURT:

                                                        /s/ John Milton Younge
                                                        Judge John Milton Younge


       1
         Plaintiff is a non-habeas prisoner litigant. As such, a certificate of appealability is not
required, and Plaintiff should follow the appeals process laid out in the Federal Rules of
Appellate Procedure.
